




Dismissed and Memorandum Opinion filed November 29, 2007








Dismissed
and Memorandum Opinion filed November 29, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00951-CR

____________

&nbsp;

ADRIAN HIGHTOWER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
351st District Court

Harris County, Texas

Trial Court Cause No. 1125092

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to possession of a firearm by a felon.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
sentenced him on&nbsp; September 21, 2007, to confinement for two years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that the defendant waived the right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial
court=s certification is included in the
record on appeal.&nbsp; See Tex. R.
App. P. 25.2(d).&nbsp; The record supports the trial court=s certification.&nbsp; See Dears v.
State, 154 S.W.3d 610, 615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed .

Panel consists of Chief Justice Hedges and Justices
Yates and Frost.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





